
In re Foy, David; — Plaintiff(s); applying for supervisory and/or remedial writs; to the Court of Appeal, Third Circuit; Parish of Calcasieu, 14th Judicial District Court, Div. “E”, No. 6490-71.
Writ granted; case remanded to the district court. The district court is ordered to exercise its discretion and determine whether the interests of justice require that relator be allowed to amend and supplement his timely filed application for post conviction relief. La.C.Cr.P. art. 930.8 does not take away from district judges the discretion to allow amendment and supplementation of timely filed pleadings. State ex rel. Duhon v. Whitley, 92-1740 (La. 9/2/94), 642 So.2d 1273; State ex rel. Edge v. Whitley, 599 So.2d 1090 (La.1992) (Calogero, C.J. concurring).
